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                    UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION
                          CASE.: 2:24-cv-00055-
                              SPC-NPM

    Dale Ylitalo and R4 Construction,
    LLC, individually and on behalf of all
    others similarly situated,

         Plaintiffs,

    v.

    Automatic Data Processing, Inc.,
    and American Century Investments
    Services, Inc.,

         Defendant.

           MOTION TO APPEAR PRO HAC VICE, CONSENT TO
          DESIGNATION, AND REQUEST TO ELECTRONICALLY
              RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Local Rules 4(b) of the Rules Governing the
  Admission, Practice, Peer Review, and Discipline of Attorneys of the United
  States District Court for the Middle District of Florida, the undersigned
  respectfully moves for the admission pro hac vice of William B. Federman
  of the law firm of Federman & Sherwood, 10205 N. Pennsylvania Ave.,
  Oklahoma City, OK 73120, 405-235-1560, for purposes of appearance as co-
  counsel on behalf of Dale Ylitalo and R4 Construction, LLC, individually
  and on behalf of all others similarly situated, in the above-styled case only,
  and pursuant to Rule 2B of the CM/ECF Administrative Procedures, to
  permit William B. Federman to receive electronic filings in this case, and in
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  support thereof states as follows:
        1.     William B. Federman is not admitted to practice in the Middle
  District of Florida and is a member in good standing of the Oklahoma Bar
  Association and United States District Court Western District of Oklahoma.
        2.     Movant, Robert H. Goodman, Esquire, of the law firm Parrish
  & Goodman, PLLC, 13031 McGregor Blvd., Ste 8, Fort Myers, FL 33919,
  813-643-4529, is a member in goodstanding of The Florida Bar and the
  United States District Court for the Middle District of Florida and is
  authorized to file through the Court’s electronic filing system. Movant
  consents to be designated as a member of the Bar of this Court with whom
  the Court and opposing counsel may readily communicate regarding the
  conduct of the case, upon whom filings shall be served, who shall be required
  to electronically file and serve all documents and things that may be filed and
  served electronically, and who shall be responsible for filing and serving
  documents in compliance with the CM/ECF Administrative Procedures. See
  Section 2B of the CM/ECF Administrative Procedures.
       3.     In accordance with the local rules of this Court, William B.
 Federman has made payment of this Court’s $200.00 admission fee. A
 certification in accordance with Rule 4(b) is attached hereto.
       4.     William B. Federman, by and through designated counsel and
 pursuant to Section 2B CM/ECF Administrative Procedures, hereby requests
 the Court to provide Notice of Electronic Filings to William B. Federman at
 email address: wbf@federmanlaw.com.
       WHEREFORE, Robert H. Goodman, moves this Court to enter an
 Order William B. Federman, to appear before this Court on behalf of Dale
 Ylitalo and R4 Construction, LLC, individually and on behalf of all others
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 similarly situated, in the above-styled case only, for all purposes relating to
 the proceedings in the above-styled matter and directing the Clerk to provide
 notice of electronic filings to William B. Federman.

 Date: February 5, 2024           Respectfully submitted,


                                  /s/ Robert H. Goodman
                                  Robert H. Goodman
                                  Florida Bar #1008059
                                  rgoodman@parrishgoodman.com
                                  Parrish & Goodman, PLLC
                                  13031 McGregor Blvd., Ste 8
                                  Fort Myers, FL 33919
                                  813-643-4529

                                  Attorneys for Plaintiffs and the Putative Class
